                               Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 1 of 21

    Fill in this information to identify the case:


    United States Bankruptcy Court for the Southern District of Texas

    Case number (if known):                                     Chapter 11

                                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                            06/24

 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number
 (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                DRF Logistics, LLC


   2.   All other names debtor used                  Pitney Bowes Global Ecommerce Inc.
        in the last 8 years                          NGS Holdings, Inc.
        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                           Mailing address, if different from principal
                                                                                                                           place of business


                                                     7171       Southwest Parkway
                                                     Number     Street                                                     Number                    Street


                                                     Building 300, Suite 400
                                                                                                                           P.O. Box


                                                     Austin                      Texas             78735
                                                     City                        State             ZIP Code                City                      State        ZIP Code

                                                                                                                           Location of principal assets, if different from
                                                                                                                           principal place of business
                                                     Travis
                                                     County
                                                                                                                           Number            Street




                                                                                                                           City              State            ZIP Code




   5.   Debtor’s website (URL)                       https://www.pitneybowes.com/us/shipping-and-mailing/ecommerce.html

   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      Page 1
                        Case 24-90447 Document 1 Filed in TXSB onCase
                                                                  08/08/24         Page 2 of 21
Debtor         DRF Logistics, LLC                                     number (if known)                                 24-_____ ( )
               Name


                                      A. Check one:
7.   Describe debtor’s business
                                      ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                      ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                      ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      ☒ None of the above


                                      B. Check all that apply:
                                      ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                      ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                      ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                         4921 – Couriers and Express Delivery Services

8.   Under which chapter of the
                                      Check one:
     Bankruptcy Code is the
     debtor filing?                   ☐ Chapter 7
                                      ☐ Chapter 9
                                      ☒ Chapter 11. Check all that apply:
                                                       ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                         insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                         4/01/25 and every 3 years after that).
                                                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                         debtor is a small business debtor, attach the most recent balance sheet,
                                                         statement of operations, cash-flow statement, and federal income tax return or
                                                         if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                         1116(1)(B).
                                                       ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and
                                                         it chooses to proceed under Subchapter V of Chapter 11.
                                                       ☒ A plan is being filed with this petition.
                                                       ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                         of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                       ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                         the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                         Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                         Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                         with this form.
                                                       ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                         1934 Rule 12b-2.
                                      ☐ Chapter 12
9.   Were prior bankruptcy cases      ☒ No
     filed by or against the debtor
     within the last 8 years?         ☐ Yes        District                          When
                                                                                                 MM/ DD/ YYYY
     If more than 2 cases, attach a
     separate list.
                                                   District                          When                         Case number
                                                                                                  MM / DD/ YYYY




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    Page 2
Debtor
                           Case 24-90447 Document 1 Filed in TXSB onCase
                                                                     08/08/24         Page 3 of 21
                                                                         number (if known)
                DRF Logistics, LLC                                                                                                         24-_____ ( )
                Name



10. Are any bankruptcy cases                  ☐ No
    pending or being filed by a
    business partner or an                    ☒ Yes          Debtor       DRF, LLC                                            Relationship      Affiliate
    affiliate of the debtor?                                 District     Southern District of Texas                          When              August 8, 2024
      List all cases. If more than 1,                                                                                                            MM / DD/ YYYY
                                                             Case number, if known
      attach a separate list.



11.      Why is the case filed in this        Check all that apply:
         district?
                                              ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.
                                              ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have
                                              ☒ No
    possession of any real
    property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    that needs immediate
    attention?                                           Why does the property need immediate attention? (Check all that apply.)
                                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.

                                                             What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).


                                                         ☐ Other


                                                           Where is the property?
                                                                                           Number                    Street


                                                                                           City                                State               ZIP Code
                                                         Is the property insured?
                                                                                          ☐ No
                                                                                           ☐ Yes. Insurance agency
                                                                                                     Contact Name
                                                                                                     Phone




                 Statistical and administrative information



   13. Debtor’s estimation of                 Check one:
       available funds                        ☒   Funds will be available for distribution to unsecured creditors.
                                              ☐   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of                    
                                              ☐   1-49                                 ☒     1,000-5,000                               ☐     25,001-50,000
       creditors                              ☐   50-99                                ☐     5,001-10,000                              ☐     50,001-100,000
          (on a consolidated basis with all   ☐   100-199                              ☐     10,001-25,000                             ☐     More than 100,000
          affiliated debtors)
                                              ☐   200-999


Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 Page 3
                          Case 24-90447 Document 1 Filed in TXSB onCase
                                                                    08/08/24         Page 4 of 21
Debtor         DRF Logistics, LLC                                       number (if known)                                            24-_____ ( )
               Name



   15. Estimated assets                      ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☐     $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☒     $100,000,001-$500 million           ☐     More than $50 billion

   16. Estimated liabilities                 ☐   $0-$50,000                            ☐     $1,000,001-$10 million              ☐     $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                      ☐     $10,000,001-$50 million             ☐     $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                     ☐     $50,000,001-$100 million            ☐     $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                   ☒     $100,000,001-$500 million           ☐     More than $50 billion



                Request for Relief, Declaration, and Signatures


WARNING − Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
          up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  17. Declaration and signature of                     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      authorized representative of                      this petition.
      debtor
                                                       I have been authorized to file this petition on behalf of the debtor.

                                                       I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                            Executed on August 8, 2024
                                                                         MM / DD/ YYYY


                                                            /s/ Eric Kaup                                              Eric Kaup
                                                             Signature of authorized representative of                  Printed name
                                                             debtor

                                                             Chief Restructuring Officer
                                                             Title




  18. Signature of attorney                             /s/ Gabriel A. Morgan                                        Date      August 8, 2024
                                                         Signature of attorney for debtor                                       MM / DD / YYYY

                                                         Gabriel A. Morgan                                            Ray C. Schrock
                                                         Printed Name

                                                         Weil, Gotshal & Manges LLP                                   Weil, Gotshal & Manges LLP
                                                         Firm Name

                                                         700 Louisiana Street, Suite 3700                             767 Fifth Avenue
                                                         Address

                                                         Houston, Texas 77002                                         New York, New York 10153
                                                         City/State/Zip

                                                         (713) 546-5000                                               (212) 310-8000
                                                         Contact Phone

                                                         gabriel.morgan@weil.com                                      ray.schrock@weil.com
                                                         Email Address

                                                         24125891                Texas
                                                         Bar Number              State


Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 4
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 5 of 21




                                  OMNIBUS ACTION BY
                                   WRITTEN CONSENT
                                   OF THE GOVERNING
                                       BODIES OF
                                 DRF LOGISTICS, LLC AND
                                        DRF, LLC

                                          August 8, 2024

                       WHEREAS, the undersigned, being all of the members of the board of
managers or the sole member, as the case may be (in each case, the “Governing Body” and
collectively, the “Governing Bodies”), of each of the entities specified on the signature pages
attached hereto (each, an “Entity” and collectively, the “Entities”) do hereby consent to, adopt,
and approve by unanimous written consent the following resolutions in accordance with applicable
law and the relevant provisions of the respective governing documents of the applicable Entity,
and direct that this written consent be filed with the minutes of the proceedings of the relevant
Governing Body;

               WHEREAS, DRF Logistics, LLC (“DRF Logistics”) is a Delaware limited
liability company, and its wholly owned subsidiary, DRF, LLC (“DRFLLC”), is a Texas limited
liability company;

               WHEREAS, prior to the date hereof, DRF Logistics was wholly owned and
controlled by Pitney Bowes International Holdings, Inc. (“PBIH”), a Delaware corporation and a
wholly owned subsidiary of Pitney Bowes Inc. (“PBI” and, collectively with its affiliates (as
defined in chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), “Pitney
Bowes”);

               WHEREAS, the Governing Body of each Entity has reviewed and has had the
opportunity to review and analyze the liabilities and liquidity of such Entity, the strategic
alternatives available to such Entity, and the impact of the foregoing on such Entity’s business;

                WHEREAS, the Governing Body of each Entity has reviewed and has had the
opportunity to consult with the management and the legal and financial advisors of such Entity to
fully consider, and have considered, the strategic alternatives available to such Entity; and

               WHEREAS, the Governing Body of such Entity believes that taking the actions
set forth below are in the best interests of such Entity and, therefore, desires to adopt, authorize,
and approve the following resolutions.

               NOW, THEREFORE, BE IT,

       I.      Commencement of Chapter 11 Cases

               RESOLVED, the Governing Body of each Entity has determined, after due
consultation with the management and the legal and financial advisors of such Entity, that it is
desirable and in the best interests of such Entity, its creditors, and other parties in interest to
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 6 of 21




commence cases under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) in the
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”); and be it further

                RESOLVED, that Eric Kaup, as Chief Restructuring Officer of each Entity (the
“Authorized Person”), be, and each hereby is authorized, empowered, and directed, with full
power of delegation, to negotiate, execute, deliver, and file with the Bankruptcy Court, in the name
and on behalf of each Entity, and under its corporate seal or otherwise, all plans, petitions,
schedules, statements, motions, lists, applications, pleadings, papers, affidavits, declarations,
orders, notices and other documents (collectively, the “Chapter 11 Filings”) (with such changes
therein and additions thereto as the Authorized Person may deem necessary, appropriate, or
advisable, the execution and delivery of any Chapter 11 Filing by the Authorized Person with any
changes thereto to be conclusive evidence that the Authorized Person deemed such changes to
meet such standard); and be it further

                 RESOLVED, that the Authorized Person be, and hereby is, authorized,
empowered, and directed, with full power of delegation, in the name and on behalf of each Entity,
to take and perform any and all further acts and deeds that the Authorized Person deems necessary,
appropriate, or desirable in connection with each Entity’s Chapter 11 Case or the Chapter 11
Filings, including (i) the payment of fees, expenses, and taxes the Authorized Person deems
necessary, appropriate, or desirable, and (ii) negotiating, executing, delivering, performing, and
filing any and all additional documents, schedules, statements, lists, papers, agreements,
certificates, or instruments (or any amendments or modifications thereto) in connection with, or in
furtherance of, the Chapter 11 Cases with a view to the successful prosecution of the Chapter 11
Cases (such acts to be conclusive evidence that the Authorized Person deemed the same to meet
such standard); and be it further

II.    Restructuring Support Agreement, Shared Services Agreement, Settlement and
       Release Agreement, and Plan

               RESOLVED, that in connection with each Entity’s Chapter 11 Case, the
Governing Body of such Entity has determined that it is in the best interests of such Entity to enter
into a Restructuring Support Agreement (the “Restructuring Support Agreement”) on the terms
and conditions substantially similar to those set forth in the form of Restructuring Support
Agreement previously provided to such Governing Body; and be it further

                 RESOLVED, that in connection with each Entity’s Chapter 11 Case and in light
of the Entities’ continued need for the shared services during the Chapter 11 Cases, each Governing
Body has determined that it is in the best interests of such Entity to enter into that certain Shared
Services Agreement, dated as of August 8, 2024, by and between the Entities and PBI (including
all exhibits and schedules thereto, as may be amended, supplemented, or otherwise modified from
time to time, the “Shared Services Agreement”) on the terms and conditions substantially similar
to those set forth in the form of Shared Services Agreement previously provided to each Governing
Body; and be it further

               RESOLVED, that in connection with each Entity’s Chapter 11 Case and in
consideration of the premises and the mutual covenants and agreements set forth in the
Restructuring Support Agreement and that certain Settlement and Release Agreement, dated as of


                                                 2
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 7 of 21




August 8, 2024, by and between the Entities, PBI, and PBIH (including all exhibits and schedules
thereto, as may be amended, supplemented, or otherwise modified from time to time, the
“Settlement and Release Agreement”), and for other good and valuable consideration, each
Governing Body has determined that it is in the best interests of such Entity to enter into the
Settlement and Release Agreement on the terms and conditions substantially similar to those set
forth in the form of Settlement and Release Agreement previously provided to the Governing
Bodies; and be it further

                RESOLVED, that in connection with each Entity’s Chapter 11 Case, it is in the
best interests of each Entity to file with the Bankruptcy Court a chapter 11 plan of liquidation (the
“Plan”) on terms and conditions substantially similar to those set forth in the form of the Plan
previously provided to the Governing Body of such Entity; and be it further

               RESOLVED, that the form, terms, and provisions of the Restructuring Support
Agreement, Shared Services Agreement, and Settlement and Release Agreement and, in each case,
all the exhibits annexed thereto and the execution, delivery, and performance thereof and the
consummation of the transactions contemplated thereunder by the applicable Entity are hereby
authorized, approved, and declared advisable and in the best interests of such Entity, with such
changes therein and additions thereto as the Authorized Person deems necessary or appropriate, it
being acknowledged that the execution of the Restructuring Support Agreement and such other
documents, agreements, instruments, and certificates as may be required or contemplated by the
Restructuring Support Agreement, Shared Services Agreement, and Settlement and Release
Agreement, as applicable, shall be conclusive evidence of the approval thereof; and be it further

                RESOLVED, that the form, terms, and provisions of the Plan and all the exhibits
annexed thereto and the execution, delivery, and performance thereof and the consummation of
the transactions contemplated thereunder by the applicable Entity are hereby authorized, approved,
and declared advisable and in the best interests of such Entity, with such changes therein and
additions thereto as the Authorized Person deems necessary or appropriate, it being acknowledged
that the execution of the Plan and such other documents, agreements, instruments, and certificates
as may be required or contemplated by the Plan, shall be conclusive evidence of the approval
thereof; and be it further

               RESOLVED, that the Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of each Entity, to cause each Entity to enter
into, execute, deliver, certify, file, or record, and perform the obligations arising under the
Restructuring Support Agreement, Shared Services Agreement, Settlement and Release
Agreement, and Plan substantially in the forms previously presented to each Governing Body,
together with such other documents, agreements, instruments, and certificates as may be required
by the applicable document; and be it further

               RESOLVED, that the Authorized Person, be, and hereby is, authorized,
empowered, and directed, with full power of delegation, in the name and on behalf of each Entity,
to execute and deliver any amendments, supplements, modifications, renewals, replacements,
consolidations, substitutions, and extensions of the Restructuring Support Agreement, Shared
Services Agreement, Settlement and Release Agreement, and Plan or any of the related documents



                                                 3
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 8 of 21




which shall, in the Authorized Person’s sole judgment, be necessary, proper, or advisable; and be
it further

       III.    Debtor-in-Possession Financing

               RESOLVED, that in connection with the Chapter 11 Cases, it is in the best interests
of (i) DRF Logistics (the “Borrower”), as debtor and debtor-in-possession under the Bankruptcy
Code, to enter into and obtain loans under the DIP Note (as defined below), (ii) DRFLLC (the
“DIP Guarantor”), to guarantee the Borrower’s obligations under the DIP Note (as defined
below), and (iii) the Borrower and the DIP Guarantor (collectively, the “DIP Loan Parties”), to
consummate the transactions under that certain Debtor in Possession Secured Multi-Draw Term
Promissory Note, dated on or about the date hereof (as may be amended, restated, amended and
restated, supplemented, or otherwise modified from time to time, the “DIP Note”), consisting of
a superpriority, senior-secured, priming debtor-in-possession term-loan facility in the aggregate
principal amount of up to $47 million (the “DIP Financing”), by and among, inter alios, the
Borrower, the DIP Guarantor, and Pitney Bowes International Holdings, Inc. (the “DIP Lender”),
subject to approval by the Bankruptcy Court, which financing is necessary, convenient,
appropriate, desirable and advisable to the conduct of the business of the DIP Loan Parties during
the Chapter 11 Cases; and be it further

                  RESOLVED, that the terms and provisions of and the execution and delivery of
the DIP Note and the Additional DIP Documents (as defined below) (collectively, the “DIP
Documents”) by each DIP Loan Party that is party thereto and the consummation by such DIP
Loan Party of the transactions contemplated thereunder, including (i) in the case of the Borrower,
the borrowings or the receipt of other financial accommodations under the DIP Documents, (ii) in
the case of the DIP Guarantor, the guarantee of the Guaranteed Obligations (as defined in the DIP
Note) thereunder as provided in the DIP Documents, (iii) the grant of a security interest in and
liens upon, mortgage, collateral assignment, hypothecation or pledge of substantially all of such
DIP Loan Party’s assets, whether now owned or hereafter acquired, in favor of the DIP Lender
securing the Obligations under the DIP Note, (iv) the filing by the DIP Lender of UCC financing
statements and other filings or recording documents or instruments with respect to the Collateral
(as defined in the Security Agreement) that may be required, necessary, convenient, appropriate,
desirable, or advisable to perfect the security interest granted pursuant to the Security Agreement,
and (v) the terms and provisions of and the execution, delivery and performance of all other
agreements, DIP Documents, or all other related documents constituting exhibits to the DIP
Documents or that may be required, necessary, convenient, appropriate, desirable, or advisable to
be executed or delivered pursuant to the DIP Documents or otherwise related thereto, including
(a) the Security Agreement, (b) any other Collateral Document (as defined in the DIP Note) and
(c) all certificates, notices, and other documents and agreements constituting exhibits to or required
by the DIP Documents (each, an “Additional DIP Document” and collectively, the “Additional
DIP Documents”), the making of the representations and warranties in the DIP Note and the
Additional DIP Documents and compliance with the covenants under the DIP Note and the
Additional DIP Documents and the assumption of any obligations under and in respect of any of
the foregoing, are hereby authorized and approved in all respects, and that any officer of such DIP
Loan Party (each, a “DIP Authorized Person”), who may act without the joinder of any other
DIP Authorized Person, is hereby severally authorized, empowered, and directed, in the name and
on behalf of such DIP Loan Party, to negotiate, approve, review, execute and deliver (1) the DIP


                                                  4
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 9 of 21




Note and (2) each Additional DIP Document to which such DIP Loan Party is a party, including
with respect to any changes or additions thereto as any such DIP Authorized Person, in his or her
sole discretion, may deem necessary, convenient, appropriate, advisable, or desirable, with the
execution and delivery of the DIP Note and such Additional DIP Documents with any changes or
additions thereto by the relevant DIP Authorized Person to be conclusive evidence that such DIP
Authorized Person deemed such changes or additions to meet such standard; and be it further

                RESOLVED, that the form, terms and provisions of each of (i) the DIP Note,
including the use of proceeds to provide liquidity for the Borrower throughout the Chapter 11
Cases, substantially in the form presented to the Governing Bodies and (ii) any and all of the
Additional DIP Documents, agreements, including, any guarantee and security agreement, letters,
notices, certificates, documents and instruments authorized, executed, delivered, reaffirmed,
verified, or filed in connection with the DIP Financing and the performance of obligations
thereunder, including the borrowings and guarantees contemplated thereunder, are hereby, in all
respects confirmed, ratified and approved; and be it further

                 RESOLVED, that the signature of any DIP Authorized Person of any DIP Loan
Party to (i) the DIP Note and (ii) any Additional DIP Document to which such DIP Loan Party is
a party shall be conclusive evidence of the authority of such DIP Authorized Person to execute
and deliver the DIP Note or such Additional DIP Documents to which such DIP Loan Party is a
party; and be it further

                RESOLVED, that each DIP Authorized Person of each DIP Loan Party, who may
act without the joinder of any other DIP Authorized Person, is hereby severally authorized, in the
name of and on behalf of such DIP Loan Party, to take all actions (including, (i) the negotiation,
execution, delivery and filing of any agreement, certificate, instrument, or document (including
any mortgage, financing statement, or similar document), (ii) the modification, amendment or
waiver of, or consent to, any of the terms and conditions of the DIP Note, or any Additional DIP
Document to which such DIP Loan Party is a party, (iii) the payment of any consideration and
(iv) the payment of indemnitees, fees, costs, expenses, taxes, and other amounts incurred by such
DIP Loan Party as any such DIP Authorized Person, in his or her sole discretion, may deem
necessary, convenient, appropriate, desirable, or advisable (such acts to be conclusive evidence
that such DIP Authorized Person deemed the same to meet such standard)) in order to effect the
transactions contemplated under the DIP Note and any Additional DIP Document to which such
DIP Loan Party is a party, and all acts of any such DIP Authorized Person taken pursuant to the
authority granted herein, or having occurred prior to the date hereof in order to effect such
transactions, are hereby approved, adopted, ratified, and confirmed in all respects; and be it further

                RESOLVED, that each DIP Authorized Person of each DIP Loan Party, who may
act without the joinder of any other DIP Authorized Person, be, and hereby is, severally authorized,
in the name and on behalf of such DIP Loan Party, to prepare any amendment, waiver, or consent
under the DIP Note or any Additional DIP Document to which such DIP Loan Party is a party as
may be necessary, convenient, appropriate, desirable, or advisable at any time or from time to time,
which amendment, waiver or consent may provide for modification or relief under the DIP Note
or any Additional DIP Document to which such DIP Loan Party is a party and may require consent
payments, fees, or other amounts payable in connection therewith, and that each DIP Authorized
Person of each DIP Loan Party be, and hereby is, authorized, in the name and on behalf of such


                                                  5
        Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 10 of 21




DIP Loan Party, to execute and deliver such amendments, waivers or consents under the DIP Note
or any Additional DIP Document to which such DIP Loan Party is a party as such DIP Authorized
Person shall deem to be necessary, convenient, appropriate, desirable, or advisable, such execution
and delivery by such DIP Authorized Person to constitute conclusive evidence of his or her
determination and approval of the necessity, convenience, appropriateness, desirability or
advisability thereof; and be it further

               RESOLVED, that any person dealing with any DIP Authorized Person of any DIP
Loan Party in connection with any of the foregoing matters shall be conclusively entitled to rely
upon the authority of such officer and by his or her execution of any document or agreement, the
same shall be valid and binding obligations of such DIP Loan Party enforceable in accordance
with their terms; and be it further

               RESOLVED, that each Governing Body hereby authorizes any current or future
subsidiary of such DIP Loan Party, to the extent applicable, to execute any agreement or document
as may be contemplated by the DIP Note or any Additional DIP Document to which such DIP
Loan Party is a party, and be it further

       IV.     Retention of Advisors

                RESOLVED, that, in connection with the Chapter 11 Cases, the Authorized
Person, in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of each Entity, to employ and
retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
other professionals, on behalf of each Entity, that the Authorized Person deems necessary,
appropriate, or advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a
view to the successful prosecution of the Chapter 11 Cases (such acts to be conclusive evidence
that the Authorized Person deemed the same to meet such standard); and be it further

              RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, New York 10153 and 700 Louisiana Street, Suite 3700, Houston, Texas
77002, is hereby retained as attorneys for each Entity in the Chapter 11 Cases, subject to
Bankruptcy Court approval; and be it further

               RESOLVED, that the firm of Triple P RTS, LLC and Triple P Securities, LLC,
located at 300 North LaSalle, Suite 1420, Chicago, IL 60654 is hereby retained as restructuring
advisor for each Entity in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it
further

               RESOLVED, that the firm of Stretto, Inc. located at 410 Exchange, Suite 100,
Irvine, CA 92602, is hereby retained as claims, noticing and solicitation agent, and administrative
advisor for each Entity in the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it
further

               RESOLVED, that the Authorized Person, in each case, acting singly or jointly, be,
and each hereby is, authorized, empowered, and directed, with full power of delegation, in the
name and on behalf of each Entity, to take and perform any and all further acts and deeds,
including, without limitation, (i) the payment of any consideration, (ii) the payment of fees,


                                                6
        Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 11 of 21




expenses, and taxes the Authorized Person deems necessary, appropriate, or desirable, and
(iii) negotiating, executing, delivering, performing, and filing any and all documents, motions,
pleadings, applications, declarations, affidavits, schedules, statements, lists, papers, agreements,
certificates or instruments (or any amendments or modifications thereto) in connection with the
engagement of professionals contemplated by the foregoing resolutions (such acts to be conclusive
evidence that the Authorized Person deemed the same to meet such standard); and be it further

       V.      General Authorization and Ratification

                 RESOLVED, that the Authorized Person, in each case, acting singly or jointly, be,
and each hereby is, authorized, empowered, and directed, with full power of delegation, in the
name and on behalf of each Entity, to take and perform any and all further acts or deeds, including,
but not limited to, (i) the negotiation of such additional agreements, amendments, modifications,
supplements, reports, documents, instruments, applications, notes, or certificates that may be
required, (ii) the execution, delivery, performance under and filing (if applicable) of any of the
foregoing, and (iii) the payment of all fees, consent payments, taxes, and other expenses as any the
Authorized Person, in their sole discretion, may approve or deem necessary, appropriate, or
desirable in order to carry out the intent and accomplish the purposes of the foregoing resolutions
and the transactions contemplated thereby, all of such actions, executions, deliveries, filings, and
payments to be conclusive evidence of such approval or that the Authorized Person deemed the
same to meet such standard; and be it further

               RESOLVED, that any and all past actions heretofore taken by the Authorized
Person in the name and on behalf of any Entity in furtherance of any or all of the preceding
resolutions be, and the same hereby are, ratified, confirmed, and approved in all respects as the
acts and deeds of such Entity, as applicable; and be it further

               RESOLVED, that the applicable Secretary of each Entity is authorized to place a
copy of this consent in the official records of such Entity to document the actions set forth herein
as actions taken by the applicable Governing Body of such Entity; and be it further

               RESOLVED, that this written consent may be executed in multiple counterparts
(including by facsimile, electronic transmission (including “.pdf” or “.tiff”) or otherwise), each of
which shall be considered an original and all of which shall constitute one and the same instrument.



                                   [Signature Pages to Follow]




                                                 7
Docusign Envelope ID: 9AAD7568-8A48-47EC-B487-A63B81A8A54B
                     Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 12 of 21




                           IN WITNESS WHEREOF, the undersigned being the Governing Body of each
            Entity, has executed this Written Consent as of the date first set forth above.

                                                             BOARD OF MANAGERS OF DRF
                                                             LOGISTICS, LLC



                                                             By:
                                                                   Name:    Alan Carr
                                                                   Title:   Manager



                                                             By:
                                                                   Name:    Dhiren Fonseca
                                                                   Title:   Manager




                                               [SIGNATURE PAGE TO OMNIBUS CONSENT]
Docusign Envelope ID: 9AAD7568-8A48-47EC-B487-A63B81A8A54B
                     Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 13 of 21




                                                             DRF, LLC

                                                             BY: DRF LOGISTICS, LLC,
                                                             ITS SOLE MEMBER



                                                             By:
                                                                   Name:    Alan Carr
                                                                   Title:   Manager



                                                             By:
                                                                   Name:    Dhiren Fonseca
                                                                   Title:   Manager




                                               [SIGNATURE PAGE TO OMNIBUS CONSENT]
                          Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 14 of 21


 Fill in this information to identify the case:

 Debtor name: DRF Logistics, LLC
 United States Bankruptcy Court for the Southern District of Texas
                                               (State)
 Case number (If known):      24-_____ ( )                                                                                          ☐ Check if this is an
                                                                                                                                         amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                              12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured
claims.

Name of creditor and complete mailing address,     Name, telephone number, and email              Nature of the      Indicate if    Amount of unsecured claim
including zip code                                 address of creditor contact                         claim          claim is      If the claim is fully unsecured, fill in only
                                                                                                  (for example,     contingent,     unsecured claim amount. If claim is
                                                                                                   trade debts,    unliquidated,    partially secured, fill in total claim amount
                                                                                                   bank loans,      or disputed     and deduction for value of collateral or
                                                                                                   professional                     setoff to calculate unsecured claim.
                                                                                                  services, and
                                                                                                   government
                                                                                                    contracts)
                                                                                                                                     Total       Deduction      Unsecured claim
                                                                                                                                    claim, if   for value of
                                                                                                                                    partially   collateral or
                                                                                                                                    secured        setoff
1    Priority Express Courier LLC                  Attn.: Derek Ryder
     Attn.: Derek Ryder                            Phone:
     30 Technology Parkway South, Suite 200        Email: derek.ryder@capstonelogistics.com      Transportation                                                  $2,308,936.92
     Peachtree Corners, Georgia 30092-2925

2    Spot Freight                                  Attn.: Hayden Janney
     Attn.: Hayden Janney                          Phone: (317) 635-6207
     141 S Meridian Street                         Email: hjanney@spotinc.com                    Transportation                                                  $2,136,291.85
     Indianapolis, Indiana 46225-1029

3    XPO Logistics LLC                             Attn.: Tyson McGhee
     Attn.: Tyson McGhee                           Phone: (980) 495-8409
     13777 Ballantyne Corporate Place              Email: tyson.mcghee@rxo.com                   Transportation                                                  $1,704,360.72
     Charlotte, North Carolina 28277-4411

4    Ambi Robotics Inc. Lease Plans                Attn.: Sandra Kazee
     Attn.: Sandra Kazee                           Phone: (510) 922-9146                           Production
     4070 Halleck Street                           Email: sandra@ambirobotics.com                                                                                $1,573,056.00
                                                                                                   Equipment
     Emeryville, California 94608-3532

5    United Parcel Service Inc.                    Attn.: Andy Galushko
     Attn.: Andy Galushko                          Phone: (203) 281-2611
     55 Glenlake Parkway NE                        Email: agalushko@ups.com                      Transportation                                                  $1,570,166.53
     Atlanta, Georgia 30328-3474

6    Hackbarth Delivery Servies Inc.               Attn.: Eva Loraine
     Attn.: Eva Loraine                            Phone:
     3504 Brookdale Drive North                    Email: eloraine@hackbarthdelivery.com         Transportation                                                  $1,539,603.73
     Mobile, Alabama 36618-1101

7    Kelly Services Temp Labor                     Attn.: Basant Abraham
     Attn.: Basant Abraham                         Phone: (248) 273-4141                           Contingent
     999 W Big Beaver Rd                           Email: basant.abraham@kellyocg.com                                                                            $1,415,860.59
                                                                                                     Labor
     Troy, Michigan 48084-4716

8    Trilogy Leasing Company LLC                   Attn.: Jeff Liebenthal
     Attn.: Jeff Liebenthal                        Phone:
                                                                                                   Production
     P.O. Box 87618                                Email: jliebenthal@trilogyleasing.com                                                                         $1,415,330.23
                                                                                                   Equipment
     Dept. 2079
     Chicago, Illinois 60680-0618

 Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                      Page 1
                          Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 15 of 21
Debtor      DRF Logistics, LLC                                                                     Case number (if known)          24-_____ ( )
            Name

Name of creditor and complete mailing address,    Name, telephone number, and email              Nature of the      Indicate if    Amount of unsecured claim
including zip code                                address of creditor contact                         claim          claim is      If the claim is fully unsecured, fill in only
                                                                                                 (for example,     contingent,     unsecured claim amount. If claim is
                                                                                                  trade debts,    unliquidated,    partially secured, fill in total claim amount
                                                                                                  bank loans,      or disputed     and deduction for value of collateral or
                                                                                                  professional                     setoff to calculate unsecured claim.
                                                                                                 services, and
                                                                                                  government
                                                                                                   contracts)
                                                                                                                                     Total       Deduction      Unsecured claim
                                                                                                                                    claim, if   for value of
                                                                                                                                    partially   collateral or
                                                                                                                                    secured        setoff
9    Allen Lund Company LLC                       Attn.: Ben Tinker
     Attn.: Ben Tinker                            Phone: (800) 777-6142
     4529 Angeles Crest Highway                   Email: ben.tinker@allenlund.com               Transportation                                                  $1,344,615.08
     La Canada, California 91011-3247

10   Geodis Ireland Limited USD                   Attn.: Christopher Stokes
     Attn.: Christopher Stokes                    Phone: 353-XX-XXXXXXX
     Unit 1, Dublin Airport Logistics Park        Email: christopher.stokes@geodis.com
                                                                                                Transportation                                                   $677,485.16
     St. Margaret's Road, Co. Dublin, K67 N237
     Ireland

11   US Pack Logistics LLC                        Attn.: Michael McLendon
     Attn.: Michael McLendon                      Phone: (667) 701-1986
     2251 Lynx Lane, Suite 5                      Email: michael.mclendon@gouspack.com          Transportation                                                   $646,492.29
     Orlando, Florida 32804-4729

12   Its National LLC                             Attn.: Albert Rosette
     Attn.: Albert Rosette                        Phone: (577) 501-3405
     50 West Liberty Street, Suite 401            Email: arosette@its4logistics.com             Transportation                                                   $627,611.01
     Reno, Nevada 89501-1944

13   Veritiv Operating Company                    Attn.: Joseph Santos
     Attn.: Joseph Santos                         Phone: (262) 549-9400
     1000 Abernathy Road NE, Bldg. 400            Email: joseph.santos@veritivcorp.com          Office Support                                                   $598,750.77
     Atlanta, Georgia 30328-5614

14   KTR NJ IV LLC CO PROLOGIS                    Attn.: Paul Rosen
     Attn.: Paul Rosen                            Phone:
     1800 Wazee Street                            Email: prosen@prologis.com                     Rent Expense                                                    $586,154.78
     Suite 500
     Denver, Colorado 80202-2526
15   TForce Final Mile LLC                        Attn.: JR Harrelson
     Attn.: JR Harrelson                          Phone: (800) 930-3177
     14881 Quorum Drive, Suite 700                Email: JR.Harrelson@tforce.com                Transportation                                                   $549,182.31
     Dallas, Texas 75254-7069

16   Bloomington Owner LLC                        Attn.: Marybell Aguirre
     Attn.: Marybell Aguirre                      Phone:
     Bloomington Logistics Center                 Email:                                         Rent Expense                                                    $546,092.26
     Anaheim, California 92806-5816               Marybell.aguirre@trasnwestern.com

17   Xtreme Xpress Inc.                           Attn.: Benny Hernandez
     Attn.: Benny Hernandez                       Phone: (909) 452-7608
     8676 Live Oak Avenue                         Email: bhernandez@xtremexpress1.com           Transportation                                                   $534,635.90
     Fontana, California 92335-3172

18   Geodis Logistics Netherlands, Inc.           Attn.: Amine Saadoune
     Attn.: Amine Saadoune                        Phone:
                                                                                                Customs, Duty
     UNIT 1 DUBLIN AIRPORT LOGISTICS PAR          Email: amine.saadoune@geodis.com                                                                               $514,858.80
                                                                                                    & Tax
     ST MARGARETS, Ireland K67 N237

19   Bogdan Delivery LLC                          Attn.: Chris Reed
     Attn.: Chris Reed                            Phone: (877) 826-4326
     19613 81sth Avenue, Suite A                  Email: chris@bogdandelivery.com               Transportation                                                   $512,155.45
     Kent, Washington 98032-1600




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                      Page 2
                          Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 16 of 21
Debtor      DRF Logistics, LLC                                                                     Case number (if known)          24-_____ ( )
            Name

Name of creditor and complete mailing address,    Name, telephone number, and email              Nature of the      Indicate if    Amount of unsecured claim
including zip code                                address of creditor contact                         claim          claim is      If the claim is fully unsecured, fill in only
                                                                                                 (for example,     contingent,     unsecured claim amount. If claim is
                                                                                                  trade debts,    unliquidated,    partially secured, fill in total claim amount
                                                                                                  bank loans,      or disputed     and deduction for value of collateral or
                                                                                                  professional                     setoff to calculate unsecured claim.
                                                                                                 services, and
                                                                                                  government
                                                                                                   contracts)
                                                                                                                                     Total       Deduction      Unsecured claim
                                                                                                                                    claim, if   for value of
                                                                                                                                    partially   collateral or
                                                                                                                                    secured        setoff
20   Amazon.com Sales Inc.                        Attn.: Tony Palmer
     Attn.: Tony Palmer                           Phone: (469) 703-4555                            Product
     PO Box 81207                                 Email: plnth@amazon.com                                                                                        $487,759.74
                                                                                                   Support
     Seattle, Washinton 98108-1207

21   Pro-Med Delivery Inc.                        Attn.: Imad Ghandour
     Attn.: Imad Ghandour                         Phone: (586) 532-6300
     51305 Celeste                                Email: ighandour@promeddelivery.com            Fleet Vehicles                                                  $439,287.40
     Shelby Township, Michigan 48315-2943

22   MailatinAmerica S.A.                         Attn.: Rina Lee
     Attn.: Rina Lee                              Phone: 541152186307                           Customs, Duty
     Rincon 487 APTO 1001                         Email: rlee@mailamericas.com                                                                                   $432,504.79
                                                                                                    & Tax
     Montevideo, Uruguay 11000

23   STAT Delivery Service Inc.                   Attn.: Ray Elizondo
     Attn.: Ray Elizondo                          Phone: (510) 351-3339
     P.O. BOX 56358                               Email: elizondo@statdel.com                   Transportation                                                   $405,913.00
     Hayward, California 94545-6358

24   Penske Truck Leasing Co L.P.                 Attn.: Carey Melz
     Attn.: Carey Melz                            Phone:
     10801 Goodnight Lane                         Email: Carey.melz@penske.com                  Transportation                                                   $328,997.99
     Dallas, Texas 75220-2447

25   Barkbox                                      Attn.: Jeffrey Awong
     Attn.: Jeffrey Awong                         Phone:
     221 Canal Street                             Email: Jawong@barkbox.com                        Customer                                                      $325,000.00
     New York, New York 10013

26   Barcodes LLC                                 Attn.: Nick Bruett
     Attn.: Nick Bruett                           Phone: (800) 351-9962                            Product
     200 W Monroe Street, 10th Floor              Email: nbruett@barcodesinc.com                                                                                 $314,604.99
                                                                                                   Support
     Chicago, Illinois 60606-5075

27   National Presort Inc.                        Attn.: Terry Wilkins
     Attn.: Terry Wilkins                         Phone: (214) 634-2288                           Production
     14901 Trinity Boulevard                      Email: terry.wilkins@npisorters.com                                                                            $303,875.03
                                                                                                  Equipment
     Fort Worth, Texas 76155-2611

28   Waltco Inc.                                  Attn.: Ryan Walters
     Attn.: Ryan Walters                          Phone: (920) 884-7465
     P.O. Box 12087                               Email: ryan.walters@waltcoinc.com             Transportation                                                   $302,941.80
     Green Bay, Wisconsin 54307-2087

29   UAC International Pty Ltd.                   Attn.: Mark Kellet
     Attn.: Mark Kellet                           Phone: 817 964183
     751 Port America Place, Suite 425            Email: mark.kellet@uac.biz                    Transportation                                                   $301,040.90
     Grapevine, Texas 76051-7626

30   Used Cardboard Boxes Inc.                    Attn.: Christy Schalk
     Attn.: Christy Schalk                        Phone: (323) 724-2500                            Material
     4032 Wilshire Blvd. Suite 402                Email:                                                                                                         $286,472.70
                                                                                                   Handling
     Grapevine, Texas 76051-7626                  christyschalk@usedcardboardboxes.com




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                      Page 3
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 17 of 21




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                             §
In re:                                       §      Chapter 11
                                             §
DRF LOGISTICS, LLC,                          §      Case No. 24-_____ ([●])
                                             §
                                             §
               Debtor.                       §
                                             §

              CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                 PURSUANT TO FED. R. BANKR. P. 1007 AND 7007.1

               Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational chart

reflecting the ownership interests in DRF Logistics, LLC and DRF, LLC (each, a “Debtor” and

collectively, the “Debtors”). The Debtors respectfully represent as follows:

               1.        Interests in Debtor DRF Logistics, LLC are divided into two classes:

(i) Class A Units, which have economic rights but no voting rights and (ii) Class B Units, which

have voting rights but no economic rights. Such interests are held as follows:

                             i.   HCI DRF, LLC owns 81% of the Class B Units; and

                            ii.   Pitney Bowes International Holdings, Inc. owns (a) 19% of the
                                  Class B Units and (b) 100% of the Class A Units.

               2.        DRF Logistics, LLC owns 100% of the membership interests in DRF,

LLC.
Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 18 of 21




                           Exhibit A

                      Organizational Chart
                                  Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 19 of 21




LEGEND                                                                                Hilco (Non-Debtor)          Non-Debtor Pitney Bowes Entity   Debtor



                                                                            Pitney Bowes Inc.
                                                                               (DELAWARE)



                                                                       Pitney Bowes International
                                        HCI DRF, LLC
                                                                              Holdings, Inc.
                                        (DELAWARE)
                                                                              (DELAWARE)
                                      0% Class A Units1
                                                                           100% Class A Units
                                      81% Class B Units2
                                                                            19% Class B Units




                                                           DRF Logistics, LLC
                                                             (DELAWARE)



                                                                                                            Pitney Bowes Global
                                            DRF, LLC
                                                                                                           Ecommerce Ireland Ltd
                                            (TEXAS)
                                                                                                                 (IRELAND)


                                     Pitney Bowes Global
                                                                                                            Pitney Bowes Global
                                    Ecommerce (APAC) Co.
                                                                                                             Ecommerce UK Ltd
                                             Ltd.
                                                                                                                    (UK)
                                           (CHINA)


 1 Class A Units have economic rights but no voting rights.
 2 Class B Units have voting rights but no economic rights.
         Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 20 of 21




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                §
In re:                                          §           Chapter 11
                                                §
DRF LOGISTICS, LLC,                             §           Case No. 24-_____ ([●])
                                                §
                                                §
                Debtor.                         §
                                                §

                                 LIST OF EQUITY HOLDERS

                Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies the equity security holders of the above-captioned debtor in possession

(the “Debtor”).

Check applicable box:

☐      There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the Debtor’s equity interest.

☒        The following are the Debtor’s equity security holders (list holders of each class, showing
         the number and kind of interests registered in the name of each holder, and the last known
         address or place of business of each holder):


    Name and Last Known Address or Place of                     Kind/Class of       Number of Interests
              Business of Holder                                  Interest               Held
                 HCI DRF, LLC
                 5 Revere Drive                                     Class B Units
                                                                                           81%
                    Suite 206                                         (Voting)
               Northbrook, IL 60062
                                                                    Class B Units
     Pitney Bowes International Holdings, Inc.                                             19%
                                                                      (Voting)
                3001 Summer St.
           Stamford, Connecticut 06926                              Class A Units
                                                                                          100%
                                                                     (Economic)




                                           List of Equity Holders                                    1
          Case 24-90447 Document 1 Filed in TXSB on 08/08/24 Page 21 of 21




 Fill in this information to identify the case:

 Debtor name: DRF Logistics, LLC
 United States Bankruptcy Court for the Southern District of Texas
                                                       (State)
 Case number (If known):        24-_____ ( )




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the
identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.



            Declaration and signature


   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of
   the partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the
   information is true and correct:
         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form 206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule ____
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
         Insiders (Official Form 204)
         Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity
         Holders

   I declare under penalty of perjury that the foregoing is true and correct.


     Executed on August 8, 2024
                                                   /s/ Eric Kaup
                    MM /DD /YYYY                      Signature of individual signing on behalf of debtor

                                                      Eric Kaup
                                                      Printed name

                                                      Chief Restructuring Officer
                                                      Position or relationship to debtor
